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09:44AM    1
                                  UNITED STATES DISTRICT COURT
           2                      WESTERN DISTRICT OF NEW YORK

           3

           4   UNITED STATES OF AMERICA,          )
                                                  ) Case No. 1:13-CR-00151
           5                                      )              (RJA)(JJM)
                                 Plaintiff,       )
           6                                      )
               vs.                                ) August 8th, 2019
           7                                      )
               RYAN C. LANDER,                    )
           8                                      )
                                 Defendant.       )
           9

          10
                                   TRANSCRIPT OF SENTENCING
          11                BEFORE THE HONORABLE RICHARD J. ARCARA
                             SENIOR UNITED STATES DISTRICT JUDGE
          12

          13
               APPEARANCES:
          14
               For the Plaintiff:      JAMES P. KENNEDY, JR.
          15                           UNITED STATES ATTORNEY
                                       BY: MICHAEL DIGIACOMO, ESQ.
          16                           ASSISTANT UNITED STATES ATTORNEY
                                       138 Delaware Avenue
          17                           Buffalo, NY 14202

          18   For the Defendant:      LOSI & GANGI
                                       BY: PATRICK J. BROWN, ESQ.
          19                           147 Linwood Avenue
                                       Buffalo, NY 14209
          20
               Probation Officer:      LINDSAY MACALUSO
          21
               Court Reporter:         MEGAN E. PELKA, RPR
          22                           Robert H. Jackson Courthouse
                                       2 Niagara Square
          23                           Buffalo, NY 14202

          24

          25
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09:44AM    1             THE CLERK:    Criminal action 2013-151A.      United States

09:44AM    2   v. Ryan C. Lander.

09:44AM    3             THE COURT:    Have a seat Mr. Brown, Mr. DiGiacomo.      Go

09:44AM    4   ahead.

09:44AM    5             THE CLERK:    Sentencing.

09:44AM    6             MR. BROWN:    Thank you, Judge.

09:45AM    7             THE CLERK:    Counsel, please state your name and the

09:45AM    8   party you represent for the record.

09:45AM    9             MR. DIGIACOMO:    Good morning.       Michael DiGiacomo for

09:45AM   10   the United States.

09:45AM   11             MR. BROWN:    Patrick Brown for the defendant, Judge.

09:45AM   12   And for the record, Mr. Lander is present.

09:45AM   13             THE COURT:    Are we ready?

09:45AM   14             MR. DIGIACOMO:    Yes, Your Honor.

09:45AM   15             MR. BROWN:    Judge, I just spoke to Mr. Lander and

09:45AM   16   he's raised an issue within the last day or two on the docket.

09:45AM   17   There's a pro se motion that he filed and I don't know if the

09:45AM   18   Court has seen that or not.

09:45AM   19             And he raises this issue, Judge, if you recall, the

09:45AM   20   government originally made a motion to not have Mr. Lander

09:45AM   21   receive the benefit of the third level for acceptance of

09:45AM   22   responsibility and then, yesterday filed a motion rescinding

09:45AM   23   that earlier motion and recommending that he does receive the

09:46AM   24   full three levels for acceptance.        And we also have the

09:46AM   25   presentence report was revised again yesterday to reflect the
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09:46AM    1   three levels for acceptance.      Mr. Lander, Judge, believes that

09:46AM    2   the fact that the government earlier on moved to deny him the

09:46AM    3   one level, notwithstanding the fact that yesterday moved that

09:46AM    4   he get the one level, results in a breach of the plea

09:46AM    5   agreement and he would like me to explore that issue.

09:46AM    6             THE COURT:    How much time would you like to have?

09:46AM    7             MR. BROWN:    Judge, I think maybe that's something

09:46AM    8   that could be done in short order, a week or two.

09:46AM    9             MR. DIGIACOMO:    Judge, we're completely opposed to

09:46AM   10   that.   Number one, I'm not aware of this case law.         The

09:46AM   11   government can make motions at any point in time.          The

09:46AM   12   government elected to withdraw that motion for reasons that we

09:47AM   13   felt that was the appropriate thing to do.        We've taken the

09:47AM   14   defendant back to the original negotiated position, which he

09:47AM   15   wanted.   And let's move the matter for sentencing.         The

09:47AM   16   problem that we have here, Judge, is a history of this

09:47AM   17   defendant wanting to delay this day for years.         We're three

09:47AM   18   years into his taking this plea.

09:47AM   19             This Court has given him hearings, new lawyers,

09:47AM   20   everything.   He just doesn't want today to happen and today is

09:47AM   21   the day that the Court has scheduled for sentencing.          He is in

09:47AM   22   the position he was when he negotiated and entered this plea

09:47AM   23   three plus years ago.     I'm unaware of this case law.       I think

09:47AM   24   all this is is a further delay tactic on the part of

09:47AM   25   Mr. Lander to be in control, the same control he demonstrated
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09:47AM    1   over the victims of this case.         Well, I think, Judge, the time

09:47AM    2   is to tell Mr. Lander he's done calling the shots and this

09:48AM    3   matter should move for sentencing today as scheduled so we get

09:48AM    4   some finality.

09:48AM    5             THE COURT:    Did you say there's a case on this,

09:48AM    6   Mr. Brown?

09:48AM    7             MR. BROWN:    Judge, excuse me.        It's -- I'm not aware

09:48AM    8   of it, but Mr. Lander sent me a letter and it just arrived the

09:48AM    9   other day.    And the case that he cites, Judge, is Griffin and

09:48AM   10   it's a Second Circuit case, apparently 510 F.3d 354 at page

09:48AM   11   360.

          12             THE COURT:    Wait.    510.

          13             MR. BROWN:    F.3d.

          14             THE COURT:    F.3d.    What is it?

          15             MR. BROWN:    354.

          16             THE COURT:    354.

09:48AM   17             MR. BROWN:    And in particular, Judge, page 360.       And

09:48AM   18   I haven't read the case, Judge.         It's apparently the sent --

09:48AM   19             THE COURT:    Well, why don't you -- you've got

09:48AM   20   30 minutes.   Take a look at it.

09:48AM   21             MR. BROWN:    Okay.    I'll run down to the library.

09:48AM   22             THE COURT:    I'll take a look at it right now.

09:48AM   23             MR. BROWN:    Okay.    Thank you.

10:13AM   24             THE CLERK:    All rise.

10:13AM   25   (Brief recess.)
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10:16AM    1             THE CLERK:    All rise.      You may be seated.

10:54AM    2             THE COURT:    Mr. Brown, do you have anything further

10:54AM    3   to say as far as the Griffin case is concerned?

10:54AM    4             MR. BROWN:    Judge, both Mr. DiGiacomo and I went to

10:54AM    5   the library and did look at Griffin.        And I guess, Judge, I

10:54AM    6   would only say that I would just rest on the papers that

10:54AM    7   Mr. Lander has filed regarding this.

10:54AM    8             THE COURT:    All right.     Mr. DiGiacomo?

10:54AM    9             MR. DIGIACOMO:    Judge, our position is that Griffin

10:54AM   10   has no bearing.     The facts are completely different than the

10:54AM   11   facts we have here.     The Court should not give it any

10:54AM   12   consideration, nor should they give any consideration to

10:55AM   13   Mr. Lander's paper because Mr. Lander has been represented by

10:55AM   14   Mr. Brown throughout this proceeding.           Mr. Brown responded on

10:55AM   15   his behalf to -- when I originally filed that motion, as well

10:55AM   16   as filed objections.     There was an appropriate filing by

10:55AM   17   Mr. Brown.   The government has since withdrawn that request.

10:55AM   18             Therefore, Mr. Lander's papers -- he's not pro se.

10:55AM   19   His papers shouldn't even be considered by this Court, but

10:55AM   20   with all that being said, Judge, we take the position Griffin

10:55AM   21   does not apply and therefore, this Court should proceed with

10:55AM   22   sentencing today of the defendant.

10:55AM   23             THE COURT:    All right.     Come on back here at 11:15.

10:55AM   24   I'm carefully considering the Griffin case.          I wanted to hear

10:55AM   25   counsel first and at 11:15 we'll have the sentencing.
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10:55AM    1             MR. DIGIACOMO:    Okay, thanks.

10:55AM    2             THE COURT:    Or I'll decide that issue.      Court will be

10:55AM    3   in recess.

10:55AM    4             THE CLERK:    All rise.

10:56AM    5   (Brief recess.)

11:15AM    6             THE COURT:    All right.     We ready?

11:15AM    7             MR. DIGIACOMO:    Yes, Your Honor.

11:15AM    8             MR. BROWN:    Yes, Judge.

11:15AM    9             THE COURT:    Okay.    The defendant, Ryan C. Lander, is

11:15AM   10   before the Court for sentencing on his previous plea of guilty

11:15AM   11   to one count of production of child pornography, in violation

11:15AM   12   of Title 18, United States Code, Section 2251(a) and 2251(e).

11:15AM   13             I know, Mr. Brown, you reviewed the report with all

11:15AM   14   the additions and I assume you reviewed it with your client?

11:15AM   15             MR. BROWN:    Yes, Judge.

11:15AM   16             THE COURT:    The Court hereby accepts the terms and

11:16AM   17   conditions of the plea agreement and the plea of guilty.          I

11:16AM   18   will now place the report in the record under seal.          If an

11:16AM   19   appeal is filed, counsel on appeal will be permitted access to

11:16AM   20   the sealed report, except that counsel on appeal will not be

11:16AM   21   permitted access to the recommendation section.

11:16AM   22             The parties have filed the appropriate statement of

11:16AM   23   parties with respect to sentencing factors.         There's no

11:16AM   24   dispute about the facts in the report and therefore, the Court

11:16AM   25   adopts these facts as its finding of fact and hereby
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11:16AM    1   incorporates them in the record.

11:16AM    2             As for the applicable guidelines, the parties each

11:16AM    3   raised objections to the recommendation with respect to the

11:16AM    4   acceptance of responsibility downward adjustment.          The parties

11:16AM    5   have reached a last-minute agreement, however, with respect to

11:16AM    6   that recommendation, pursuant to 1B1.2(a).

11:16AM    7             The parties agreed in the plea agreement that the

11:16AM    8   defendant's sentencing range for imprisonment and a fine shall

11:16AM    9   be determined as if he was convicted of two counts of

11:16AM   10   production of child pornography, in violation of Title 18,

11:17AM   11   United States Code, 2251A, for the production of child

11:17AM   12   pornography count as to victim number 1.

11:17AM   13             The report also recommends that the defendant's base

11:17AM   14   offense level, under Guideline Section 2G2.1(a), is 32.           The

11:17AM   15   report also recommends a four-level upward adjustment,

11:17AM   16   pursuant to Guideline Section 2G2.1(b)(1)(A), as the instant

11:17AM   17   offense involved a minor under the age of 12.         The report also

11:17AM   18   recommends a two-level upward adjustment, pursuant to

11:17AM   19   Guideline Section 2G2.1(b)(2)(A), as the instant offense

11:17AM   20   involved sexual contact.     The adjusted offense level subtotal

11:17AM   21   total is 38.

11:17AM   22             For the production of child pornography count as to

11:17AM   23   victim 2, the report recommends that the defendant's base

11:17AM   24   offense level, under Guideline Section 2G2.1(a), is 32.           The

11:18AM   25   report also recommends a four-level upward adjustment,
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11:18AM    1   pursuant to Guideline Section 2G2.1(b)(1)(A), as the instant

11:18AM    2   offense involved a minor under the age of 12.         The report also

11:18AM    3   recommends a two-level upward adjustment, pursuant to

11:18AM    4   2G2.1(b)(2)(A), as the instant offense involved sexual

11:18AM    5   contact.   The adjusted offense level, the subtotal is 38.

11:18AM    6   After these calculations, the multiple count adjustment is

11:18AM    7   applied, pursuant to Guideline Section 3D1.4 and the combined

11:18AM    8   adjusted offense level is calculated at 40.

11:18AM    9              The report initially recommended a two-level downward

11:18AM   10   adjustment based upon the defendant's acceptance of

11:18AM   11   responsibility.     As noted previously, both parties initially

11:18AM   12   objected to this recommendation, although the United States

11:18AM   13   later adopted it and the probation officer later amended the

11:19AM   14   recommendation to add a third level, based upon the

11:19AM   15   government's motion, pursuant to 3E1.1(b).

11:19AM   16              The United States originally contended the defendant

11:19AM   17   had not accepted responsibility for his offense conduct and

11:19AM   18   should get no downward adjustment.        The United States stressed

11:19AM   19   the burden caused by the defendant's motion to withdraw his

11:19AM   20   guilty plea and the motion to reconsider the Court's initial

11:19AM   21   denial of his motion to withdraw his guilty plea.

11:19AM   22              The defendant, for his part, contended, through his

11:19AM   23   counsel, that he has fully accepted responsibility and is

11:19AM   24   entitled to the complete three-level downward adjustment for

11:19AM   25   the acceptance of responsibility under Guideline
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11:19AM    1   Section 3E1.1.

11:19AM    2             Certainly, the defendant should not be denied the

11:19AM    3   acceptance of responsibility downward adjustment solely for

11:19AM    4   having sought to withdraw a guilty plea, provided the

11:19AM    5   defendant does not falsely claim innocence.         On the other

11:20AM    6   hand, neither is a defendant automatically entitled to a

11:20AM    7   downward adjustment as a matter of right because of a grudging

11:20AM    8   admission of guilt.     See Guideline Section 3E1.1, comment

11:20AM    9   note 3.

11:20AM   10             The defendant's statement to the U.S. Probation

11:20AM   11   Office, as recounted in the presentence investigation report

11:20AM   12   at paragraphs 23, 24, 25 and 26, and very generally admits to

11:20AM   13   sexual contact that he had with his victims in order to make

11:20AM   14   child pornography.

11:20AM   15             But the Court has seen a pattern of behavior on the

11:20AM   16   part of the defendant that shows the defendant tends to

11:20AM   17   deflect personal responsibility and finds it difficult to take

11:20AM   18   responsibility for his own conduct.        Unfortunately, that

11:20AM   19   pattern has been evident during this case.        For example,

11:21AM   20   during the proceedings -- Mr. DiGiacomo, have a seat.

11:21AM   21             MR. DIGIACOMO:    Thank you, Your Honor.

11:21AM   22             THE COURT:    During these proceedings, the defendant's

11:21AM   23   motion to withdraw his plea, the defendant sought to blame the

11:21AM   24   investigative agents who talked their way into his home and

11:21AM   25   who talked him into allowing them to seize evidence of his
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11:21AM    1   crimes for allegedly violating his Fourth Amendment rights.

11:21AM    2   It became apparent to the Court that the defendant concluded

11:21AM    3   that he made a tactical mistake in responding to the agents as

11:21AM    4   he did and then he seemed to have concluded that if he had

11:21AM    5   only refused the agents permission to enter his home, he might

11:21AM    6   have avoided some of the legal consequences of his criminal

11:21AM    7   conduct.

11:21AM    8              This is partly why the defendant sought to blame his

11:21AM    9   prior counsel for failing to obtain a court order suppressing

11:21AM   10   his incriminating denial to investigating agency that he had

11:21AM   11   actual physical sexual contact with his victims.          And it's

11:22AM   12   partly why he sought to blame his prior counsel for failing to

11:22AM   13   obtain a court order suppressing the physical evidence and

11:22AM   14   pornographic images that were seized from his home by the

11:22AM   15   agents.

11:22AM   16              The defendant even tried to claim his prior counsel

11:22AM   17   tricked him into giving up on his motion seeking to suppress

11:22AM   18   this evidence when he pleaded guilty.           The defendant claimed

11:22AM   19   to be uninformed of the substance of the motions, but it

11:22AM   20   became clear during the hearing on his motion for

11:22AM   21   reconsideration that the defendant's testimony in that regard

11:22AM   22   was false.

11:22AM   23              The defendant further blamed prior counsel and his

11:22AM   24   own father for coercing him into pleading guilty.          As the

11:22AM   25   Court has found, the defendant was not coerced.          The defendant
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11:22AM    1   has demonstrated his capacity for firm resolve throughout the

11:22AM    2   post-plea proceedings in this case and the Court does not

11:23AM    3   believe that the defendant genuinely believed that he had

11:23AM    4   entered into his plea because of a psychological coercion.

11:23AM    5             Instead, the Court concludes the defendant

11:23AM    6   exaggerated his feelings that he had been presented with no

11:23AM    7   acceptable option on the plea or trial choice that he faced.

11:23AM    8   The defendant exaggerated the differences he experienced with

11:23AM    9   his former counsel in order to bolster his claim that he was

11:23AM   10   coerced by his former counsel and father in pleading guilty.

11:23AM   11             The defendant tried to make it seem like he had

11:23AM   12   experienced actual psychological coercion, so he could seek to

11:23AM   13   withdraw his plea as a way to validate his bitterness over

11:23AM   14   being treated like a criminal and to deflect attention from

11:23AM   15   his deeply disturbed sexual contact with the prepubescent

11:23AM   16   minor victims that he had used to make pornography.

11:23AM   17             The defendant's false, exaggerated testimony in

11:24AM   18   support of his motion for reconsideration of the Court's

11:24AM   19   initial denial of his motion to withdraw his guilty plea is

11:24AM   20   conduct inconsistent with the defendant having accepted

11:24AM   21   responsibility sufficiently to warrant a downward adjustment

11:24AM   22   under Guideline Section 3D1.1.

11:24AM   23             The Court has carefully read the letters submitted on

11:24AM   24   behalf of the defendant.      The Court believes the writers'

11:24AM   25   honesty and proclaim they're shocked at what the defendant had
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11:24AM    1   done and state honest beliefs the defendant will never commit

11:24AM    2   another crime.    The Court hopes that they are correct in their

11:24AM    3   assessment.

11:24AM    4             Nevertheless, the downward adjustment for the

11:24AM    5   acceptance of responsibility should only be awarded by the

11:24AM    6   Court because the defendant has personally taken the first

11:24AM    7   step toward rehabilitation in an open, honest and a sincere

11:24AM    8   acceptance of responsibility for the offense conduct.              See

11:24AM    9   United States v. Parker at 903 F.3d 91 at page 105 (2d Cir.

11:25AM   10   1990).

11:25AM   11             In this case, the Court finds the defendant has

11:25AM   12   refused to accept how serious the crime is he committed and he

11:25AM   13   testified falsely and made exaggerated claims of coercion

11:25AM   14   while persisting in seeking to withdraw his guilty plea in

11:25AM   15   order to attempt to deflect attention from his deeply

11:25AM   16   disturbed criminal behavior.

11:25AM   17             In a letter to the Court from the defendant dated

11:25AM   18   July 31st, 2019 at Docket Number 171, the defendant recently

11:25AM   19   argued that the United States breached the parties'

11:25AM   20   February 4th, 2015 plea agreement by objecting to a downward

11:25AM   21   adjustment for the acceptance of responsibility that the

11:25AM   22   United States had agreed to in the plea agreement.          As a

11:25AM   23   remedy for the alleged breach, the defendant yet again seeks

11:25AM   24   to withdraw his guilty plea.       The parties' plea agreement

11:26AM   25   explicitly provides, at paragraph 23, subparagraph D, that the
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11:26AM    1   United States may modify its position with respect to a

11:26AM    2   sentencing factor based upon conduct of a defendant after the

11:26AM    3   plea agreement was entered into.        That is what transpired

11:26AM    4   here.

11:26AM    5             Moreover, the United States subsequently filed an

11:26AM    6   amended statement with respect to sentencing factors at Docket

11:26AM    7   Number 167, which adopted the presentence investigation report

11:26AM    8   recommendation and has subsequently filed a motion to grant

11:26AM    9   the defendant's third level for acceptance.         Under these

11:26AM   10   circumstances, the Court finds the United States did not

11:26AM   11   breach the plea agreement by initially objecting to the

11:26AM   12   recommendation in the presentence report to grant the

11:26AM   13   defendant a two-level downward adjustment for the acceptance

11:26AM   14   of responsibility.

11:26AM   15             At the start of today's proceedings, defendant's

11:26AM   16   counsel brought the case of the United States v. Griffin at

11:26AM   17   510 F.3d 354, (2d Cir. 2007) to the Court's attention.             The

11:27AM   18   Court had to take an adjournment and has carefully considered

11:27AM   19   the case and has heard oral argument on behalf of both the

11:27AM   20   defendant as well as the government.

11:27AM   21             The prosecutor in the Griffin case essentially sought

11:27AM   22   a six-level offense level increase above what was agreed to in

11:27AM   23   the plea agreement at the time the sentence was imposed and

11:27AM   24   did so based upon information that had nothing to do with what

11:27AM   25   had happened after the agreement was entered into.
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11:27AM    1             Here, in contrast, the Court has determined, as a

11:27AM    2   matter of fact, that the defendant gave false testimony that

11:27AM    3   he was misled by prior counsel about the substance of his

11:27AM    4   suppression motions.     The Court has also determined that the

11:27AM    5   defendant exaggerated his testimony about the circumstances

11:27AM    6   involving his prior counsel that he claimed amounted to

11:27AM    7   coercion, that caused him to give up his right to have his

11:28AM    8   suppression motion addressed and that caused him to enter his

11:28AM    9   guilty plea.

11:28AM   10             The prosecutor's early position in this case on the

11:28AM   11   issues related to whether the defendant has clearly

11:28AM   12   demonstrated acceptance of responsibility are simply

11:28AM   13   irrelevant to these factual findings and the Court's related

11:28AM   14   findings on the related circumstances.

11:28AM   15             Accordingly, even if the Court were to assume there

11:28AM   16   was a breach of the plea agreement, the breach had no effect

11:28AM   17   whatsoever on the Court's determination.         Moreover, there is

11:28AM   18   no evidence of bad faith on the part of the United States and

11:28AM   19   the outcome is not unfair to the defendant, given this conduct

11:28AM   20   after the plea agreement that is inconsistent with the

11:28AM   21   acceptance of responsibility.

11:28AM   22             The Court finds that the defendant's July 31st, 2019

11:28AM   23   correspondence to the Court expresses no remorse whatsoever

11:28AM   24   for his having used his sexual contact with prepubescent

11:28AM   25   victims to make child pornography.        The defendant does not
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11:29AM    1   express any sympathy for his victims and the harm the victims

11:29AM    2   suffered and may well suffer in the future, as a result of his

11:29AM    3   abuse of them.

11:29AM    4              The July 31st, 2019 letter contains no statement

11:29AM    5   tending to show the defendant's acceptance of responsibility

11:29AM    6   for his crime.    The letter is, instead, a further example of

11:29AM    7   the defendant's unfortunate emphasis of his personal

11:29AM    8   grievances, instead of on the difficult task that he faces of

11:29AM    9   coming to grips with his responsibility for his criminal

11:29AM   10   conduct.

11:29AM   11              In summary, the defendant has elevated his personal

11:29AM   12   feelings that he does not deserve to be treated like a

11:29AM   13   criminal over and above a sole recognition of the harms he's

11:29AM   14   caused by his conduct and over and above the seriousness of

11:29AM   15   his criminal offense.     He is embittered that he is being

11:29AM   16   treated like a criminal.      There's no question the defendant

11:29AM   17   suffers from serious sexual dysfunction, but it's also true

11:30AM   18   that he committed a very serious crime.

11:30AM   19              Under the circumstances, the Court is unable to find

11:30AM   20   the defendant's entitled to acceptance of responsibility

11:30AM   21   downward adjustment.     The Court would do the defendant no

11:30AM   22   favor by pretending that he has taken his first steps towards

11:30AM   23   rehabilitation by accepting responsibility when that is simply

11:30AM   24   not yet the case.

11:30AM   25              Accordingly, the Court finds the adjusted offense
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11:30AM    1   level should be properly calculated at level 40.          The criminal

11:30AM    2   history category should be properly calculated as category I.

11:30AM    3             Under this calculation, the advisory guideline range

11:30AM    4   for imprisonment is a term of 292 to 365 months.          The

11:30AM    5   statutory term of imprisonment is the mandatory minimum term

11:30AM    6   of 15 years and a maximum of 30 years.          The advisory guideline

11:30AM    7   range for supervised release is a term of five years to life.

11:30AM    8   The advisory range for a fine is from 50,000 to $500,000 plus

11:31AM    9   the cost of imprisonment and supervised release.

11:31AM   10             In accordance with the Supreme Court decision, U.S.

11:31AM   11   v. Booker and the Second Circuit decision, U.S. v. Crosby,

11:31AM   12   this Court must consider the guidelines, is not bound by them.

11:31AM   13   The Court must also consider the factors in 18 U.S.C. 3553(a).

11:31AM   14             Now, I have received 11 letters, including some

11:31AM   15   family photographs, which I have carefully considered.             I've

11:31AM   16   also considered the sentencing memorandum filed by the parties

11:31AM   17   in this matter.     All right.    Mr. Brown, I'll hear from you on

11:31AM   18   behalf of your client.

11:31AM   19             MR. BROWN:    Thank you, Judge.       Judge, we respectfully

11:31AM   20   object to the Court's denial of the adjustment for acceptance

11:31AM   21   of responsibility, but as we must, we certainly accept it for

11:31AM   22   today's proceedings.

11:31AM   23             Judge, when you look at the presentence report, a

11:31AM   24   picture of Mr. Lander emerges.         He's 42 years of age.       Other

11:32AM   25   than the instant offense, he has no criminal history, appears
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11:32AM    1   to be an intelligent individual, did well in school, was

11:32AM    2   employed.    And by all accounts, from the letters that the

11:32AM    3   defense submitted to the Court and what we see in the

11:32AM    4   presentence report, he's a resourceful individual, apparently

11:32AM    5   very mechanically inclined, has musical ability, active in

11:32AM    6   family activities.

11:32AM    7               And it's always difficult, Judge, to get inside

11:32AM    8   someone's head and of course, at this stage of a proceeding,

11:32AM    9   it always sounds like an excuse.        And I don't offer excuses,

11:32AM   10   Judge, but rather an explanation.        And it sounds like at the

11:32AM   11   time Mr. Lander's parents divorced, that that was very

11:32AM   12   traumatic for him.

11:32AM   13               And in his own words, as reflected in the presentence

11:32AM   14   report, he recognizes that he's a sexually immature person and

11:33AM   15   he's wrestled with this child pornography problem for years.

11:33AM   16   And it's reflected in the presentence report that, on

11:33AM   17   occasion, he became so disgusted with himself for viewing this

11:33AM   18   material that he would smash his computer and withdraw --

11:33AM   19   cancel his internet access, only to find himself later on

11:33AM   20   going back to it.

11:33AM   21               And then he sought counseling that identified him as

11:33AM   22   suffering a generalized anxiety disorder, secondary to sexual

11:33AM   23   issues.   But it just -- it would have been good if -- it's

11:33AM   24   been reflected in the presentence report, at paragraph 81, and

11:33AM   25   he's -- so, he's wrestled with it and -- but he just -- it was
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11:33AM    1   too much for him.     It's also reflected, Judge, in the

11:33AM    2   interview with the presentence report his feelings of disgust

11:34AM    3   with his activity.

11:34AM    4             So, I only point out, Judge, we're mindful of the

11:34AM    5   Court's comments earlier, but Mr. Lander does recognize he --

11:34AM    6   he recognized it when he would cancel his internet

11:34AM    7   subscriptions, he recognized it when he sought counseling and

11:34AM    8   he recognized it at the presentence interview when he

11:34AM    9   acknowledged the wrongfulness of what he was doing and the

11:34AM   10   fact that he was, himself, disgusted by his own activity, that

11:34AM   11   he really does feel remorse.

11:34AM   12             Now, it may well be that he hasn't expressed that in

11:34AM   13   court in the course of the effort to withdraw the guilty plea,

11:34AM   14   but he really does recognize what he did is profoundly wrong.

11:34AM   15   I mean, he gets it, Judge, that this isn't just a minor

11:34AM   16   infraction.    He absolutely gets it.

11:34AM   17             And the sentencing range that we now are faced with

11:35AM   18   are 292 to 365 is, for someone who's 42 year of age, likely

11:35AM   19   whatever sentence the Court imposes is going to result in

11:35AM   20   Mr. Lander not being again at liberty.          And candidly, Judge,

11:35AM   21   I'm not good enough to do the math, but I'm guessing he's

11:35AM   22   going to be maybe in his 60's or late 50's.

11:35AM   23             So, our request, Judge, would be that he be sentenced

11:35AM   24   certainly no higher than at the low-end of the guideline range

11:35AM   25   as calculated, based on what the Court's just told us.             And
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11:35AM    1   frankly, we were asking, in our sentencing memorandum, that

11:35AM    2   the Court consider the low end of the guideline range as

11:35AM    3   recommended in the presentence report of 210 months.           Judge,

11:35AM    4   these numbers are so high that, we would respectfully submit,

11:36AM    5   there's a certain point beyond which it almost doesn't matter.

11:36AM    6               I mean, if someone is sentenced to 15 years or

11:36AM    7   18 years or 22 years, it's just such a chunk of one's life

11:36AM    8   that I would respectfully submit that sometimes it goes beyond

11:36AM    9   what's necessary.     Certainly, the sentence has to be

11:36AM   10   sufficient for the offense conduct and the nature of the

11:36AM   11   defendant, but we would respectfully submit there's no need to

11:36AM   12   get into these numbers that really snuff out any hope on the

11:36AM   13   part of the defendant of rejoining society in the future as a

11:36AM   14   productive member.

11:36AM   15               What Mr. Lander was interested in, Judge -- he's been

11:36AM   16   incarcerated now for an extended period of time.          He's had a

11:36AM   17   chance to look into what the Bureau of Prisons offers.             And

11:37AM   18   apparently, at the Devens in Massachusetts, they have a

11:37AM   19   program for sexual offenders.

11:37AM   20               And his interest, Judge, is not in simply being

11:37AM   21   warehoused for a period of time and then getting out and

11:37AM   22   resuming this activity.      He wants to get rid of it.      He wants

11:37AM   23   the time.    He recognizes that it's an extraordinary amount of

11:37AM   24   time he's going to spend locked up, but he wants to be as

11:37AM   25   productive as possible with it and his only goal is to not
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11:37AM    1   engage in this activity in the future.           He just -- he wants to

11:37AM    2   expunge this from his nature.

11:37AM    3               And so, our request, Judge, is that the Court

11:37AM    4   consider a sentence at the low end of the guideline range.

11:37AM    5   And frankly, we would request that the Court give some

11:37AM    6   consideration to the low end of the guideline range as

11:37AM    7   recommended in the presentence report of 210 months, together

11:37AM    8   with a recommendation to the Bureau of Prisons that he serve

11:38AM    9   his sentence at the Devens Facility.

11:38AM   10               THE COURT:   All right.      Sir, this is your opportunity

11:38AM   11   to say anything you'd like to say.

11:38AM   12               THE DEFENDANT:   I would just like to apologize to the

11:38AM   13   victims and the families, as well as my family.          I

11:38AM   14   disappointed everybody.      And what I have done is a heinous

11:38AM   15   crime and there is no excuse.          As Mr. Brown spoke, I do wish

11:38AM   16   to expunge this from my being by going through whatever

11:38AM   17   programs are available.      I did seek counseling before I was

11:38AM   18   arrested.

11:38AM   19               And as Mr. Brown spoke, I do feel remorse for the

11:38AM   20   victims.    It was a terrible thing I did and I had no excuse

11:38AM   21   for it, but I certainly do not want to re-offend and I wish to

11:38AM   22   do whatever's possible to alleviate that, so that that doesn't

11:39AM   23   occur again.    Thank you.

11:39AM   24               THE COURT:   Mr. DiGiacomo.

11:39AM   25               MR. DIGIACOMO:   Yes, Your Honor.       Your Honor, as the
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11:39AM    1   Court's pointed out, they have a strong history of this case

11:39AM    2   and knowledge of the defendant and Judge --

11:39AM    3             THE COURT:    How long has this case been pending?

11:39AM    4             MR. DIGIACOMO:     Well, Judge, he was charged in 2013,

11:39AM    5   pled in '15 and now we're here in 2019.

11:39AM    6             THE COURT:    Over six years.

11:39AM    7             MR. DIGIACOMO:     Yes.        Yes, Your Honor.   This case has

11:39AM    8   been around for a long period of time.             And Judge, I know the

11:39AM    9   Court has alluded to they have read the government's papers

11:39AM   10   and -- with respect.     And Judge, realistically, I'm not

11:39AM   11   going to argue what's already in my papers that the Court's

11:39AM   12   already aware of, but, Judge, I think it needs to be called to

11:39AM   13   the Court's attention that Mr. Lander has a significant

11:39AM   14   attraction towards children and it's outlined in the

11:39AM   15   presentence investigation through his own admissions.

11:39AM   16             And as I noted in my papers, Judge, the aspect of

11:40AM   17   this crime is significant because it is a serious crime

11:40AM   18   because it involved children and having children touch

11:40AM   19   Mr. Lander inappropriately and put items on him that were

11:40AM   20   inappropriate.    And Judge, these are serious crimes, as the

11:40AM   21   Court's noted.

11:40AM   22             And Mr. Brown told the Court that the numbers are

11:40AM   23   high, that it's a chunk of one's time.             I don't disagree with

11:40AM   24   that, Judge, but when these e numbers -- these guidelines were

11:40AM   25   calculated, it was based on the fact that they looked at the
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11:40AM    1   nature and circumstance of the crime.           As the Court pointed

11:40AM    2   out, Judge, these victims -- one will ever know how long they

11:40AM    3   will be impacted by this.      It may be the rest of their lives.

11:40AM    4   We hope not, but there's always that possibility.          So,

11:40AM    5   although Mr. Lander is facing a chunk of time, a significant

11:40AM    6   period of incarceration, in essence, the victims in these

11:40AM    7   cases often suffer a life sentence of which they don't have

11:40AM    8   any out at the end of the day.

11:40AM    9              And Judge, as Mr. Lander -- you know, he took

11:41AM   10   advantage, as I've noted in my papers.          He took advantage of

11:41AM   11   people who were at the house of either his mother or other

11:41AM   12   family members and he abused that position of trust and he

11:41AM   13   took that trust and he took it to a level that, in fact, it's

11:41AM   14   well beyond abuse what he did.         I mean, he violated these

11:41AM   15   victims when they thought they were potentially secure in

11:41AM   16   one's home.

11:41AM   17              So, Judge, when someone says that in the presentence

11:41AM   18   report, that he -- he's had physical contact with his wife but

11:41AM   19   he got more pleasure out of masturbating to images of children

11:41AM   20   or to their underwear is someone who clearly is a danger to

11:41AM   21   society.

11:41AM   22              Mr. Lander has progressed from looking at it to -- he

11:41AM   23   ultimately went to the final stage, which is touching.             And

11:42AM   24   with that, Judge, the government -- as the Court's aware, the

11:42AM   25   government has advocated for a sentence in their sentencing
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11:42AM    1   statement -- because the plea allowed the parties to allow to

11:42AM    2   ask for a non-guideline sentence.         Judge, I'm asking the

11:42AM    3   Court -- we think a sentence in the range of the low end of

11:42AM    4   the guidelines would be sufficient in this case and we're

11:42AM    5   asking the Court to impose that.

11:42AM    6               THE COURT:   What is the low end that you're talking

11:42AM    7   about?

11:42AM    8               MR. DIGIACOMO:   Judge, the low end, based on the

11:42AM    9   Court's calculation, would be the 292 to 364.         If the Court is

11:42AM   10   looking at -- the government would be looking at the 292

11:42AM   11   range.   And the reason is, Judge, is the plea agreement

11:42AM   12   allowed the parties to ask for a non-guideline sentence that

11:42AM   13   would allow the Court to go up into the guidelines as now

11:42AM   14   calculated by the Court.

11:42AM   15               THE COURT:   All right.     We're going to take a five-

11:42AM   16   minute recess.    I'm missing something from my file here.         It

11:42AM   17   must be on my desk.      I'll be right back.

11:42AM   18               THE CLERK:   All rise.

11:53AM   19   (Brief recess.)

11:53AM   20               THE CLERK:   All rise.      You may be seated.

11:54AM   21               THE COURT:   Okay.    Mr. DiGiacomo, have a seat.

11:54AM   22               MR. DIGIACOMO:   Thank you, Your Honor.

11:54AM   23               THE COURT:   This Court is now ready to impose

11:54AM   24   sentence.    Pursuant to the Sentencing Reform Act of 1984, it

11:54AM   25   is the judgment of the Court that the defendant, Ryan C.
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11:54AM    1   Lander, is hereby committed to the custody of the Bureau of

11:55AM    2   Prisons to be imprisoned for a period of 262 months.           The cost

11:55AM    3   of incarceration fee is waived.        He shall forfeit his interest

11:55AM    4   in the property specifically set forth in section 7 of the

11:55AM    5   plea agreement and incorporated herein.

11:55AM    6             Upon release, he shall be placed on supervised

11:55AM    7   release for a period of 10 years.        He shall report in person

11:55AM    8   to the Probation Office in the district in which he is

11:55AM    9   released within 72 hours.      He shall comply with the standard

11:55AM   10   conditions of supervised release adopted by the Court.             He

11:55AM   11   shall not commit another federal, state or local crime.            He

11:55AM   12   shall be prohibited from possessing a firearm or other

11:55AM   13   dangerous device and he shall not possess a controlled

11:55AM   14   substance.

11:55AM   15             The instant offense occurred after September 1994.

11:55AM   16   However, since it's not related to illegal substances and he

11:55AM   17   does not have a history of substance abuse problems, the

11:55AM   18   mandatory requirements for drug testing is waived.

11:55AM   19             He shall, however, cooperate in the collection of a

11:56AM   20   DNA sample as required by the Justice For All act of 2004.              He

11:56AM   21   shall not use or possess any computer, data storage device or

11:56AM   22   any internet-capable device unless the defendant participates

11:56AM   23   in the computer and internet monitoring program or unless

11:56AM   24   authorized by the Court or the U.S. Probation Office.

11:56AM   25             He must provide the U.S. Probation Office with
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11:56AM    1   advanced notification of any computer or computers, automatic

11:56AM    2   service or services, or connected device or devices that will

11:56AM    3   be used during the term of supervision.          The U.S. Probation

11:56AM    4   Office is authorized to install any application as necessary

11:56AM    5   to surveil all activities on the computer or computer-

11:56AM    6   connected device or devices owned or operated by the

11:56AM    7   defendant.    He shall be required to pay the cost of monitoring

11:56AM    8   services.

11:56AM    9               The U.S. Probation Office shall be notified via

11:56AM   10   electronic transmissions of impermissible or suspicious

11:57AM   11   activity or communications during such computer or connected

11:57AM   12   device consistent with the computer monitoring policy in

11:57AM   13   effect by the Probation Office as triggered by the

11:57AM   14   impermissible or suspicious activity.           He shall consent to and

11:57AM   15   cooperate with unannounced examinations of any computer

11:57AM   16   equipment owned or used by the defendant.

11:57AM   17               The examination shall include, but is not limited to,

11:57AM   18   retrieval and the copying of all data of computer or

11:57AM   19   computers, connected device or devices, storage media and any

11:57AM   20   internal or external paraphernalia and may involve removal of

11:57AM   21   such equipment for the purpose of conducting a more thorough

11:57AM   22   inspection.    Any such monitoring or examination shall be

11:57AM   23   designed to avoid as much as possible reading any privileged

11:57AM   24   information or any private material that is not illegal or

11:57AM   25   reasonably likely to lead to illegal material or evidence
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11:58AM    1   related to illegal activity.

11:58AM    2              He must participate in sexual offense-specific

11:58AM    3   treatment program and follow the rules and regulations of that

11:58AM    4   program.   The Probation Office shall supervise the details of

11:58AM    5   the defendant's participation in the program, including the

11:58AM    6   selection of a provider and schedule.           The defendant is not to

11:58AM    7   leave treatment until complete or is ordered by the Court.             He

11:58AM    8   is required to contribute to the cost of services.

11:58AM    9              He shall not have any deliberate contact with any

11:58AM   10   child under 18 years of age, excluding any biological or

11:58AM   11   adopted children, unless it is approved by the probation

11:58AM   12   officer or by the Court.      He shall not loiter within 100 feet

11:58AM   13   of schoolyards, playgrounds, arcades or other primary places

11:58AM   14   used by children under the age of 18.           The Probation Office

11:58AM   15   has discretion to authorize the defendant to pick up any of

11:58AM   16   his children, if he has children, from any school or other

11:58AM   17   functions.    However, authorization must be obtained in advance

11:59AM   18   from the Probation Office or, alternatively, from the Court.

11:59AM   19              In order to monitor the defendant's compliance with

11:59AM   20   not buying or subscribing to online services that provide

11:59AM   21   child pornography, he shall provide the U.S. Probation Office

11:59AM   22   with access to any requested personal and/or business

11:59AM   23   financial information.

11:59AM   24              He shall register with the State Sex Offender

11:59AM   25   Registration Agency in a state where he is resides, is
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11:59AM    1   employed, carries on a vocation or is a student and he shall

11:59AM    2   provide proof of registration to the Probation Office.             The

11:59AM    3   Probation Office is authorized to release the defendant's

11:59AM    4   presentence report to the New York State Board of Examiners of

11:59AM    5   Sex Offenders.    Further disclosure to the county court and to

11:59AM    6   parties involved in a determination of the defendant's final

11:59AM    7   classification level is also authorized.

11:59AM    8             He shall submit to a search of his person, property,

11:59AM    9   vehicle, place of residence or any other property under his

12:00PM   10   control based upon reasonable suspicion and permit the

12:00PM   11   confiscation of any evidence or contraband discovered.

12:00PM   12             He shall submit to a polygraph computer voice stress

12:00PM   13   analyzer or any other such testing not to exceed twice in a

12:00PM   14   calendar year and an additional two retests per year as

12:00PM   15   needed.   That testing may include examinations using a

12:00PM   16   polygraph, computerized voice stress analyzer or other similar

12:00PM   17   device to obtain information necessary for the supervision of

12:00PM   18   the defendant and any treatment.

12:00PM   19             He shall answer the questions posed during the

12:00PM   20   examination, subject to the defendant's right to challenge in

12:00PM   21   a court of law the use of such statements as violations of the

12:00PM   22   defendant's Fifth Amendment rights.        In this regard, he shall

12:00PM   23   be deemed not to have waived the defendant's Fifth Amendment

12:00PM   24   rights by making any such statements.           The results of any

12:00PM   25   polygraph, pretest and polygraph examinations may be disclosed
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12:01PM    1   to the U.S. Probation Office and the Court, but shall not be

12:01PM    2   further disclosed without a court order.         The defendant's

12:01PM    3   required to contribute to the cost of services rendered.

12:01PM    4             The Court finds the defendant does not have the

12:01PM    5   ability to pay a fine.      The Court will not impose a fine.

12:01PM    6   However, I will order the mandatory special assessment of

12:01PM    7   $100, which is due immediately.        Payment shall begin under the

12:01PM    8   Bureau of Prisons Inmate Financial Responsibility Program.         I

12:01PM    9   will recommend that he be in -- the name of the facility?

12:01PM   10             MR. BROWN:    That was Devens, Your Honor.

12:01PM   11             THE COURT:    Devens.    Devens Facility in

12:01PM   12   Massachusetts.

12:01PM   13             MR. BROWN:    Yes, Judge.

12:01PM   14             THE COURT:    That's the recommendation that you made.

12:01PM   15             MR. BROWN:    Thank you, Judge.

12:01PM   16             THE COURT:    I will make that recommendation.

12:01PM   17             In determining the sentence, the Court has considered

12:01PM   18   the advisory range and the points raised by counsel, as well

12:01PM   19   as the defendant and the government, as to what the

12:01PM   20   appropriate sentence should be.        In addition, I've carefully

12:01PM   21   considered the factors in 18 U.S.C. 3553(a) and find the

12:01PM   22   sentence imposed is sufficient but not greater than necessary

12:01PM   23   to comply with the purpose of sentencing in 18 U.S.C.

12:02PM   24   3553(a)(2).

12:02PM   25             I note that between July 2011 and March 7th, 2013,
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12:02PM    1   that he did produce images of child pornography involving a

12:02PM    2   19-month-old and a four-year-old child.         These victims were

12:02PM    3   the grandchildren of the mother's boyfriend.         The Court

12:02PM    4   carefully considered the seriousness of these activities and

12:02PM    5   facts.    The Court further noted that he was attracted to

12:02PM    6   children between the ages of 8 and 12 and falsely denied that

12:02PM    7   he had any sexual contact with these children.

12:02PM    8              I have given a variance here to the sentence and I

12:02PM    9   have that based upon he appears to, today, to have said an

12:02PM   10   indication of remorse.      I did factor that in.

12:03PM   11              MR. BROWN:   Thank you, Judge.

12:03PM   12              THE COURT:   Also, he's been in local custody for

12:03PM   13   over, I believe, six years.

12:03PM   14              MR. BROWN:   Yes, Your Honor.

12:03PM   15              THE COURT:   Which, obviously, is a facility that

12:03PM   16   doesn't have the treatment and the facilities that a federal

12:03PM   17   penitentiary would have.      I received seven letters of support

12:03PM   18   for him which, obviously, are encouraging to the Court that he

12:03PM   19   does have the family support and from his friends and his

12:03PM   20   family.

12:03PM   21              I also noticed that, based on all these factors, I

12:03PM   22   feel that he does show some signs of effort -- some signs, not

12:03PM   23   a lot -- in recognizing the seriousness of the offense and I

12:03PM   24   hope will take strong efforts to rehabilitate himself, so when

12:03PM   25   he does come out of prison that he will deal with this issue
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12:04PM    1   and lead a law-abiding life and refrain from these desires

12:04PM    2   that he has with children.        I'm not imposing a fine.     I don't

12:04PM    3   believe he has the ability to pay a fine.

12:04PM    4             Now, he does have a right to appeal a lot of issues

12:04PM    5   here.   He has a right to appeal those issues to the

12:04PM    6   Second Circuit Court of Appeals.         I have sentenced at the high

12:04PM    7   end of the original range that was in the plea agreement.          I

12:04PM    8   gave that careful consideration and certainly, I looked at

12:04PM    9   that factor and I tried to impose a sentence that was fair and

12:04PM   10   reasonable under all the circumstance and I've done that to

12:04PM   11   the best of my ability.       I believe that pretty much covers

12:04PM   12   everything.    Mr. DiGiacomo?

12:04PM   13             MR. DIGIACOMO:      Yes, Judge.    We would move to dismiss

12:04PM   14   Counts 2 and 3 of the indictment.

12:04PM   15             THE COURT:    Motion is granted.       Court will dismiss

12:04PM   16   Counts 2 and 3.

12:04PM   17             MR. DIGIACOMO:      Thank you.

12:04PM   18             THE COURT:    Anything further?

12:04PM   19             MR. BROWN:    No.    Thank you, Judge.

12:04PM   20             THE DEFENDANT:      Thank you, Your Honor.

12:04PM   21             THE COURT:    Court will be in recess.

12:04PM   22             THE CLERK:    All rise.

12:10PM   23   (Proceedings ended.)

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 3                     I certify that the foregoing is a

 4             correct transcription of the proceedings

 5             recorded by me in this matter.

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 9                                       s/ Megan E. Pelka, RPR

10                                       Court Reporter,

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